       Case 1:17-cr-00232-EGS Document 306-5 Filed 10/26/20 Page 1 of 1




                            DECLARATION OF KEITH KOHNE


        I, Keith Kohne, hereby declare, pursuant to 28 U.S.C. $ 1746, that the document attached
as Exhibit 1 to the Govemment's Supplemental Filing in Support of Motion to Dismiss in United
States v. Michael T. Flynn, Crim. No. 17232 (EGS), and docketed as ECF 249-1, is a true and
conect copy of the report of the interview of William J. Bamett conducted on September 17,2020.



       I declare under penalty ofperjury that the foregoing is true and correct.



       Dated: October 26.2020




                                                     Keith Kohne
                                                     Special Agent
